            Case 2:20-cv-00966-NR Document 158 Filed 07/22/20 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; et al.,
                                                    Civil Action No.: 2:20-CV-966-NR
                Plaintiffs,

       v.

KATHY BOOCKVAR; et al.,

                Defendants.



                       MOTION FOR ADMISSION PRO HAC VICE OF
                                SARAH E. BRANNON

       Proposed Intervenors the National Association for the Advancement of Colored People

(“NAACP”) Pennsylvania State Conference, Common Cause Pennsylvania, League of Women

Voters of Pennsylvania, Patricia DeMarco, Danielle Graham Robinson, and Kathleen Wise

(collectively, “Applicants”) respectfully move for the admission pro hac vice of Sarah E.

Brannon pursuant to Local Civil Rules 83.2 and 83.3, should this court grant their Motion to

Intervene (ECF No. 103).

       Attached hereto is an Affidavit for movant Sarah E. Brannon, in support of this motion,

as well as a certificate of good standing from the Maryland State Bar.


 Dated: July 22, 2020                                 /s/ Sarah E. Brannon
                                                      Sarah E. Brannon
                                                      American Civil Liberties Union Foundation
                                                      915 15th St. NW
                                                      Washington, DC 20005
                                                      (212) 549-2500
                                                      sbrannon@aclu.org
         Case 2:20-cv-00966-NR Document 158 Filed 07/22/20 Page 2 of 2




                                CERTIFICATE OF SERVICE


       I certify that a true and correct copy of the foregoing Motion for Admission Pro Hac Vice

was served on all counsel of record by means of the Court’s electronic filing system.



                                                     /s/ Sarah E. Brannon
                                                    Sarah E. Brannon
 Dated: July 22, 2020
